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CLEVELAND COMMUNICATIONS, INC.
RADIO SYSTEM USER AGREEMENT

THIS RADIO SYSTEM AGREEMENT (The “Agreement”) is made and
entered into this day of , 2023, in the State of Ohio, by
and between Cleveland Communications, Inc. whose principal business address is
5220 Hauserman Rd. Parma, OH 44130 hereinafter referred to as “CCI”,
and__City of Oberlin , whose principal address

is_ 695. Main St. Oberlin _, OH 44074 hereinafter referred to as the “User”.

ARTICLE |

RADIO SYSTEM USE

1.0 CCI hereby grants to User, for the purposes of public safety forces, service
departments and or other municipal radio users in connection with public
functions and duties of User, access to the CCI public safety simulcast,
700/800 MHz, trunked radio system located in Lorain County. User under the
following terms and conditions;

2.0 The term of this Agreement shall commence upon execution by the public
official(s) authorized to do so on behalf of the User. The term of this
Agreement shall be continuous from its commencement and shail be in force
for a period of Five (5) years. Renewal of this Agreement shall be automatic
unless prior written notice is given by either party no less than sixty (60) days
prior to the renewal date.
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ARTICLE III

FEES

3.0 Commencing with the first full month following execution of this Agreement
and installation and or activation of equipment, User shall pay to CCl a
monthly fee (the “Usage Fee”) in the amount of $40.00 per control station
radio and $10.00 per terminal mobile or portable radio. Equipment known as
Pagers have $0.00 usage fee. Usage Fee’s shall be payable upon invoice to
CCI at its principle address. Usage Fee’s set forth in this Agreement may be
adjusted at the renewal period of this Agreement. The adjustment amount
shall be in accordance with the RFP response dated October 14, 2022 listed in
the fifteen year cost of ownership on page eight of section 12 of the CCI
response, as amended.

Total number of Mobiles 9
Total number of Portables 32
Total number of Control Stations 1

e Total number of Mobiles/Portables/Control Stations to be determined
after equipment is issued out by Lorain County 911

ADDITIONAL FEES

3.1 Monthly wireline dispatch console fee $60.00 (per position)

3.2 Monthly BeOn fee $10.00 {per device)

3.3 BeOn activation fee $ 295.00 (per device)

3.4 Pager programming fee $50.00 (per device)

3.5 Monthly Backup Radio Fee $10.00

3.6 Users may be subject to additional “Fees” based on a technology need
presented by the User that requires additional equipment investment
by CCI. The additional “Fees” will be agreed to by both parties prior to
commencement of the technology upgrade.
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ARTICLE IV

DEFAULT

3.7 In the event of any breach of this Agreement by User, CCI in addition to

3.8

3.9

the other rights or remedies it may have, shall have the right to

‘tefmiridte this Agreement upon sixty (60) days written notice to User.

Should User not cure its default within the sixty (60) day period, CC!
shall exclude User from access to any and all assigned talk groups or
otherwise denominated communications capabilities theretofore
assigned to User on the System. Such a breach shall include but not be
limited to, any misuse of the System or the equipment and software
that makes up the System, the determination of what constitutes
misuse is the sole discretion of CCI. This section refers only to
individual users and individual radios. It does not imply CCI can or will
turn the radio system off for all users.

ARTICLE V

NON-LIABILITY

CCI shall not be liable for any damage, injury, loss, or other liability
resulting from any temporary or permanent termination of User’s use
of the System, nor shall and User’s obligations under this Agreement
be affected by any such interruption or termination of User's use of the
System.

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ARTICLE VI

MISCELLANEOUS

3.10 The covenants and conditions contained shall be applied to and
bind the successor, executors, administrators, and assigns of all
parties hereof.

3.11 The provisions of this Agreement shall also be binding upon and
inure to the benefit of both parties and their successors and assigns.

3.12 This agreement shall be construed in accordance with and governed
by the laws of the State of Ohio.

3.13. No amendment, modification, or alternation of the terms hereof
shall be binding unless the same be in writing, dated subsequent to the
date hereof, and duly executed by the parties hereto.

3.14 In case any one or more of the provisions contained in this
Agreement shall, for any reason, held to be invalid, illegal of
unenforceable in any respect, such invalidity, illegality, or
unenforceability, shall not affect any other provision thereof and this
Agreement shall be construed as if such invalid, illegal, or
unenforceable provision had never been contained herein.

3.15 This Agreement constitutes the sole and only Agreement of the
parties hereto and supersedes any prior understandings or written or
oral agreement between the parties respecting to this Agreement.

3.16 The rights and remedies provided by this Agreement are cumulative
in the use of any one right or remedy by either party and shall not
preclude or waive its right to use any or all other remedies. Said rights
and remedies are given in addition to any other rights the parties may
have by law, statute, ordinance, or otherwise.
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IN WITNESS WHEREOF, the parties have executed the Agreement as of

this S day of Say 20K 2023.

CCl:

Cleveland Communications, Inc.

By: /¢7K_-

Alan Close, President.

STATE OF OHIO )
) SS:
CUYAHOGA COUNTY _ )

BEFORE ME, a Notary Public for said User and State, personally appeared Alan
Close, President of Cleveland Communications, Inc. who severally acknowledges
that he did sign the Agreement on behalf of Cleveland Communications, Inc. and
that the same is his free act and deed.

IN TESTIMONY WHEREOF, t have hereunto-set my hand and official seal

this 4 day of Sonuacu , 2023

tho. ft fostizan
NOTARY PUBLIC

“ie: NOtary Public, State of Ohio
“1: My Commission Expires:
iF March 15, 2026
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USER: Cit) -f Obed,

BY: LEI Gt

Kobe? fi, Jara - C4, Manayer

STATE OF OHIO )
) SS:
LORAIN COUNTY )

BEFORE ME, a Notary Public for said User and State, personally appeared
Brianna Reynolds , who severally acknowledges that he/she did
sign the Agreement on behalf of _ the City of Oberlin and that the same is

his free act and deed.

IN TESTIMONY WHEREOF, | have hereunto set my hand and official seal
this ¥ day of Janwany , 2023

NOTARY PUBLIC

BRIANA REYNOLDS
Notary Public
State of Ohio

My Comm. Expires

December 27, 2027

Approved as to form:
©) pee -, CALE
on D. Clark, Law Director

